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UNITED STATES DISTRICT COURT
EASTERN DISTRICT OF NEW YORK
– – – – – – – – – – – –– – – – X

UNITED STATES OF AMERICA

         - against -                                      19 CR 188 (KAM)

FRANK SEGUI,

                             Defendant.

– – – – – – – – – – – –– – – – X

                              JOINT VOIR DIRE REQUESTS AND
                                LIST OF NAMES AND PLACES

               In accordance with Rule 24(a) of the Federal Rules of Criminal Procedure, the

parties respectfully request that the Court include the following case-specific questions in its

voir dire of prospective jurors in addition to the Court’s standard questions. Where a

prospective juror answers in the affirmative, the parties further request that the Court ask

additional questions of the prospective juror to determine whether the juror can be fair and

impartial in this case. The parties also submit a brief summary of the case, as well as a list of

potential witnesses, individuals, and locations that may be mentioned at trial.

I.      Case-Specific Proposed Questions of Prospective Jurors 1

               1.      In this case, the defendant is charged with making a threat to cause

death or bodily injury via e-mail.

                       (a)      Have you or anyone close to you ever been the recipient of a
                                threat over the internet, including by e-mail, text message, or
                                social media?


1
 The parties request the right to propose additional questions and modifications to the
description of the case after the Court rules on the pending motions.
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                      (b)    Has your life or the life of a close friend or family member been
                             affected by an online threat?

                      (c)    If you answered yes to either of these questions, is there
                             anything about your experience that might affect your ability to
                             be a fair and impartial juror in this case?

                      (d)    Is there anything else about the nature of the charges in this case
                             that would cause you to be unable to follow the Court’s
                             instructions regarding the law or to render a fair and impartial
                             verdict?

               2.     Do you or any family members or close friends have a personal

connection to Western Michigan University? 2

II.     Description of the Case

               The defendant is charged with transmitting a threat to cause death or bodily

injury via e-mail.

III.    List of Names and Places

        1.     Defense

               (a)    Frank Segui (Defendant)

               (b)    Kannan Sundaram, Esq. (Defense Counsel)

               (c)    Karina Buruca (Paralegal)

               (d)    Ping Liu (Legal Intern)

        2.     Prosecution

               (a)    Andrew Grubin (Assistant U.S. Attorney)

               (b)    Philip Pilmar (Assistant U.S. Attorney)


2
 The defendant requests the following additional question: “Have you or anyone close to
you worked as a professor at any college or university?” The government objects to this
question.
                                                2
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                 (c)      Emily Miller (Paralegal Specialist)

                 (d)      FBI Special Agent Kerry Calnan

         3.      Potential Witnesses and Other Individuals Who May Be Mentioned at Trial

                 (a)      John Doe 3

                 (b)      Port Authority Detective Thomas Kemble

                 (c)      Port Authority Detective Jack Collins

                 (d)      Dr. Susan Stapleton (Western Michigan University)

                 (e)      Scott Merlo (Western Michigan University)

                 (f)      Vincent Radice (FBI CART)

         4.      Places

                 (a)      Western Michigan University

                 (b)      Kalamazoo, Michigan




3
    The government will replace “John Doe” with the name of the victim prior to trial.

                                                  3
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IV. Conclusion

               The parties respectfully request that the Court include the foregoing in its voir

dire to the jury. In addition, the parties request the opportunity to submit further requests or

to amend those submitted as appropriate.

Dated: Brooklyn, New York
       October 22, 2019


                                                    Respectfully submitted,

                                                    RICHARD P. DONOGHUE
                                                    United States Attorney
                                                    Eastern District of New York

                                             By:    /s/ Andrew D. Grubin
                                                    Andrew D. Grubin
                                                    Philip Pilmar
                                                    Assistant U.S. Attorneys
                                                    (718) 254-6322/6106



                                                    /s/ Kannan Sundaram
                                                    Kannan Sundaram
                                                    Assistant Federal Defender
                                                    Federal Defenders of New York, Inc.
                                                    One Pierrepont Plaza, 16th Fl.
                                                    Brooklyn, New York 11201




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